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            In the United States Court of Federal Claims
                                Sub-Master Docket No. 17-9001L

                                      (Filed: May 20, 2022)

 IN RE UPSTREAM ADDICKS AND
 BARKER (TEXAS) FLOOD-
 CONTROL RESERVOIRS



 THIS DOCUMENT APPLIES TO:

 ALL UPSTREAM CASES


                                  FINAL PRE-TRIAL ORDER

       Pursuant to Rule 16(e) of the Rules of the Court of Federal Claims, this Final Pre-Trial
Order recites the actions taken during the pre-trial conference conducted in this case on May 20,
2022.

       1.      (a) Trial is scheduled for May 31, 2022 through June 10, 2022 (nine trial days).

               (b) The trial will be held at the Bob Casey United States Courthouse in Houston,
               Texas, Courtroom 9-F. Trial will begin each day at 9:00 AM and end at 5:00 PM
               each day, except for the first day, which will begin at 9:30 AM and end at 5:30
               PM.

       2.      (a) Each party shall be allotted 27 hours for the presentation of evidence.

               (b) Such allotments will not include time spent engaging in arguments on
               evidentiary motions, time spent by the court asking questions of witnesses, or
               time spent addressing housekeeping details.

       3.      Opening statements will be made on May 31, 2022. Each side shall have 15
               minutes for this purpose.

       4.      The parties have indicated that they are not now aware of any issues related to the
               authenticity of any proposed trial exhibits, with the exception of non-
               governmental reports identified in defendant’s motion in limine regarding judicial
               notice, ECF No. 535. All documents produced in discovery are presumed to be
               authentic other than handwritten notes, which will be deemed authentic if
               supported by appropriate testimony. The presumption of authenticity may be
               rebutted by appropriate evidence.
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5.    If a witness listed in either party’s witness list is necessary to support or negate
      the admissibility of a document to which an objection has been made, any party
      may call or recall that witness during its case in chief to testify concerning the
      factual foundation relating to the admissibility of that document.

6.    The parties shall provide to the court at the outset of the trial two copies of a list
      containing the following three columns: (1) the identifying number for each
      exhibit, (2) a blank space for the court to enter the name of the witness through
      whom the exhibit is sought to be admitted, and the names of the witnesses who
      otherwise address the exhibit, and (3) a blank space for the court to enter the
      disposition of any request to admit that exhibit.

7.    During trial, the original “stickered” version of exhibits shall be provided to the
      witnesses, and thereafter exhibits admitted into evidence shall be maintained by
      the reporter as part of the official record of the trial. The court shall be provided
      with two copies of each exhibit proffered to a witness at trial, for use at trial by
      the court and clerk during the examination of the pertinent witnesses and
      thereafter.

8.    To constitute part of the factual record, each exhibit must be formally moved and
      admitted into evidence.

9.    Counsel shall not engage in substantive discussions with a witness while any
      portion of that witness’s examination is pending.

10.   (a) Pursuant to Fed. R. Evid. 702, voir dire of any witness offered as an expert
      shall be conducted, and such witness must be qualified and accepted by the court
      as an expert, prior to any substantive testimony by such witness.

      (b) The court anticipates that expert reports will be admitted into evidence after a
      suitable foundation has been provided for such admission.

11.   Counsel should stand when addressing the court, and in particular, when raising
      objections or seeking to be heard during testimony.

12.   Fact witnesses shall be excluded from the courtroom during the testimony of other
      witnesses pursuant to Fed. R. Evid. 615.

13.   For witnesses called by more than one party, the scope of cross-examination of
      such witnesses may exceed the scope of direct examination, provided that no
      examination may extend beyond the scope of the subject-matter descriptions
      provided on the parties’ witness lists.

14.   Each party should provide copies of its demonstrative exhibits to opposing
      counsel at least 24 hours in advance of the exhibits’ use at trial. A demonstrative



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                exhibit does not include copies of pages from exhibits or proposed exhibits,
                copies of trial transcripts, bullet-point argument summaries, or items generated on
                the stand. A demonstrative exhibit does include bullet points with numerical data
                or calculations. This provision applies to rebuttal, except when good cause is
                shown for an exception.

         15.    By May 26, 2022, the plaintiffs shall provide a list of “will-call” witnesses to the
                government. On May 27, 2022, the plaintiffs shall provide the order in which
                they intend to call these witnesses. Correspondingly, two days before the
                government begins its case, it shall provide plaintiffs with the order in which it
                intends to call its “will-call” witnesses.

         A schedule for post-trial briefing and closing argument shall be arranged at the close of
trial.

         It is so ORDERED.

                                               s/ Charles F. Lettow
                                               Charles F. Lettow
                                               Senior Judge




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